
68 U.S. 337 (1863)
1 Wall. 337
LEE ET AL
v.
WATSON.
Supreme Court of United States.

*339 Messrs. Lee and Fisher for the plaintiffs in error, and by Mr. Fendall contra.
Mr. Justice FIELD delivered the opinion of the court:
It appears from the certificate of the presiding judge of the court below, indorsed on the writ of error, that the writ and original declaration in the case showed that the amount in controversy did not exceed one thousand dollars, and that the evidence offered by the plaintiffs at the trial showed that it did not exceed seven hundred dollars; and that in the progress of the cause an amendment was made in the amount of damages claimed, for the purpose of bringing the case within the appellate jurisdiction of this court. It is hardly necessary to add that upon the facts thus stated  and the correctness of the certificate is not questioned  the court will not entertain jurisdiction of the case.
To authorize a re-examination of a final judgment of the Circuit Court, the matter in dispute must, with some exceptions, exceed the sum or value of two thousand dollars. By matter in dispute is meant the subject of litigation  the matter for which the suit is brought  and upon which issue is joined, and in relation to which jurors are called and witnesses examined. In an action upon a money demand, where the general issue is pleaded, the matter in dispute is the debt claimed, and its amount, as stated in the body of the declaration, and not merely the damages alleged, or the prayer for judgment at its conclusion, must be considered in determining the question whether this court can take jurisdiction on a writ of error sued out by the plaintiff. It certainly would not be pretended that this court would hear a case where the plaintiff counted solely upon a promissory note of two hundred dollars, simply because he concluded his declaration with an averment that he had sustained damages from its non-payment of over two thousand, and prayed judgment for the latter sum. Reference must be had both to the debt claimed and to the damages alleged, or the prayer for judgment. The damages or prayer for judgment must be regarded, inasmuch as the plaintiff may seek a recovery *340 for less than the sum to which he appears entitled by the allegations in the body of the declaration.
Taking in the present case the certificate of the judge below as correct, the amount in controversy  that is, the debt alleged in the original declaration  did not exceed one thousand dollars; the jurisdiction is not therefore acquired by this court from the amendment in the amount of the damages claimed. The writ of error is
DISMISSED.
